                                           ________________________________

Case 2:00-cr-00333-SRC      Document 180         Filed 01/14/11   Page 1 of 1 PageID: 114


                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY


                                                                  Crim No.       00-333

 UNITED STATES OF AMERICA v.             Elvis   Irizzary
                                                           De fendant
 PETITION FOR WRIT OF HABEAS CORPUS:                 Your petitioner shows          that

 1.
                                                                           is now confined
 in Hudson County Jail.

 2.  Said individual will be required at United
                                                 States District Court,
 before the Honorable Stanley R. Ches
                                         ler on Thursday, January 27,
 2011, at 10:00 a.m. for a n        in the captioned case, in which he
 is to provide testimony and a Writ of Habea
                                             s Corpus should be issued
 for that purpose.
                                         /           /
                                                      j
DATED:       January 11,    2011                           /f/’ \
                                            A
                                            a
                                            9  nt 4   Uni
                                                      t     s     t Attorney
                                            Petitioner LESLIE     SCHWARTZ
                                                                       .




ORDER FOR WRIT:       Let   the Writ      Issue.


DATED             }

                                            HON.    STANLEY R.     CHESLER
                                            UNITED STATES DISTRICT JUDGE

WRIT OF HABEAS CORPUS:         The United States           of America to

WARDEN, Hudson County Jail
WE COMMAND YOU that you have the body
                                            of Samier Bakhoury,    now
confined in Hudson County Jail brought
                                        to the United States District
Court before the Honorable Stanley R. Chesle
                                               r in Newark, New Jersey
on Thursday,  January 27,  2011 at 10:00 am,     for a hearing in the
above-captioned   matter.     Immediately    on    completion  of  the
proceedings, defendant will be returned
                                         to said place of confinement
in a safe and secure manner.

                  WITNESS the Honorable Stanley B. Chesler
                  United States District Judge at Newark,
                                                                           NJ.


DATED:                                   WILLIAM T. WALSH
                                         Clerk of the U.S. District Court
                                         for the District of New Jersey


         /                         Per

         /1                              Deputy Clerk
